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   8                        UNITED STATES DISTRICT COURT
   9                      SOUTHERN DISTRICT OF CALIFORNIA
  10   APPLE INC.,                                    CASE NO. 14cv2235 DMS (BLM)
  11                                   Plaintiff,     ORDER RE: RETRIAL
           vs.
  12
       WI-LAN, INC.,
  13
                              Defendant.
  14   _______________________________
  15   AND ALL RELATED
       COUNTERCLAIMS.
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  17         This case is scheduled for a retrial on damages on August 26, 2019. Pursuant to
  18 the Court’s request, the parties have submitted briefs on the scope of the retrial. After
  19 considering the parties’ positions, and given the history of this case, the Court orders
  20 as follows:
  21 1.      The parties’ respective experts may prepare supplemental written reports to be
  22 provided to all other parties no later than April 19, 2019. Any supplemental reports
  23 shall be confined to damages theories set out in the expert’s initial reports, i.e., the
  24 parties may not raise any new damages theories in these supplemental expert reports.
  25 2.      Any party, through any designated expert, may provide rebuttal expert reports in
  26 response to any supplemental expert report submitted in accordance with Paragraph 1,
  27 above. Any such rebuttal reports are due on or before May 10, 2019.
  28 3.      Any and all expert depositions shall be completed by on or before May 31, 2019.

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   1 4.      Each side may file one summary judgment motion raising any and all arguments
   2 they wish to raise. The Court will not accept separate motions for each issue or
   3 argument to be raised. All Daubert challenges shall also be raised in one consolidated
   4 motion. The Court will not accept separate Daubert motions for each disputed expert.
   5 These motions shall be filed on or before June 14, 2019. Any opposition briefs shall
   6 be filed on or before June 28, 2019, and any reply briefs shall be filed on or before July
   7 10, 2019. These motions will be heard on July 26, 2019, at 1:30 p.m. The Court will
   8 also hold a pretrial conference at that time.
   9 5.      The trial remains as scheduled for August 26, 2019, at 9:00 a.m.
  10         IT IS SO ORDERED.
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  12 DATED: April 8, 2019
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  14                                            HON. DANA M. SABRAW
                                                United States District Judge
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